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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                                DETROIT OFFICE

JAMIE PECK,                                 )
                                            )
                     Plaintiff,             )       2:16-cv-11329-GCS-SDD
                                            )
       v.                                   )       Judge Steeh
                                            )       Magistrate Judge Davis
ENHANCED RECOVERY                           )
COMPANY, LLC, d/b/a ERC,                    )
                                            )
                     Defendant.             )

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                         PURSUANT TO SETTLEMENT

       NOW COMES the Plaintiff, JAMIE PECK, by and through her attorneys,

SMITHMARCO, P.C., and for her Notice of Voluntary Dismissal, Plaintiff states as follows:

       1.     Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

              hereby notifies this Honorable Court that the Plaintiff voluntarily dismisses her

              case pursuant to a settlement agreement reached by the parties.

       2.     The Defendant in this case has filed neither an answer to Plaintiff’s complaint nor

              a motion for summary judgment.

       3.     Plaintiff requests that this case be dismissed with prejudice and without costs to

              any party, all costs having been paid and all matters in controversy for which this

              action was brought having been fully settled, compromised and adjourned.


                                                           Respectfully submitted,
                                                           JAMIE PECK

                                                    By:     s/ David M. Marco
                                                            Attorney for Plaintiff




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 Dated: May 23, 2016

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